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                                       1   Jason J. Bliss (18246)
                                           Kathryn G. Mahady (28916)
                                       2   Michael J. Victor (036308)
                                           ASPEY WATKINS & DIESEL, PLLC
                                       3   123 N. San Francisco Street, 3rd Floor
                                           Flagstaff, Arizona 86001
                                       4   Telephone: (928) 774-1478
                                           KMahady@awdlaw.com
                                       5   JBliss@awdlaw.com
                                           MVictor@awdlaw.com
                                       6   Attorneys for Plaintiffs

                                       7                            UNITED STATES DISTRICT COURT

                                       8                                      DISTRICT OF ARIZONA
ASPEY, WATKINS & DIESEL, PLLC
123 N. San Francisco St., 3rd Floor




                                       9    Anthony, Ophelia; Barney, Nichole;
      Flagstaff, AZ 86001
         (928) 774-1478




                                            Becenti, Johnathan; Becenti, JoVonna;          Case No. CV-20-08002-PCT-DJH
                                      10    Curley, Pauline; Dejolie, Margaret;
                                            Delgarito, Cherilyn; Garcia, Cynthia;
                                      11    Halona, Rhonda; Hoskie, Murvyn; James-
                                            Tafoya, Tina; Milford, Tatiana; Saganey,       PLAINTIFFS’ MOTION FOR LEAVE
                                      12    Elvera; Thompson, Cherrilyn; Whitehorse,       TO FILE A SURREPLY REGARDING
                                            Jamie; Yazzie, Jamie; and Yazzie, Paula,       DEFENDANT’S MOTION FOR
                                      13                                                   SUMMARY JUDGMENT
                                                                Plaintiffs,
                                      14
                                                  vs.
                                      15
                                            United States of America,
                                      16
                                                                Defendant.
                                      17

                                      18         Plaintiffs respectfully move this Court for leave to file a very brief surreply in response

                                      19   to new arguments Defendant raised for the first time in Defendant’s Reply in Support of Its

                                      20   Motion for Summary Judgment (Doc. 77 in Docket) (“Reply”).

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                                       1          A court generally should not consider issues a party raises for the first time in a reply

                                       2   brief. Coleman v. Quaker Oats Co., 232 F.3d 1271, 1289 n.4 (9th Cir. 2000) (internal

                                       3   citations omitted). While neither the Federal Rules of Civil Procedure nor the Local Rules

                                       4   for the District of Arizona provide a right to file a surreply, the Court may grant a party leave

                                       5   to file a surreply when an opposing party raises an entirely new issue in a reply brief which

                                       6   the Court, in its discretion, chooses to consider. Kaufman v. Warner Bros. Ent. Inc., No. CV-

                                       7   16-02248-PHX-JAT, 2019 WL 2084460, at *2 (D. Ariz. May 13, 2019); ML Liquidating Tr.

                                       8   v. Mayer Hoffman McCann P.C., No. 2:10-CV-02019-RRB, 2011 WL 10451619, at *1 (D.
ASPEY, WATKINS & DIESEL, PLLC
123 N. San Francisco St., 3rd Floor




                                       9   Ariz. Mar. 11, 2011).
      Flagstaff, AZ 86001
         (928) 774-1478




                                      10          In its January 21, 2022 Reply Defendant United States argues, for the first time, that

                                      11   Plaintiffs must name an individual defendant whose negligent acts gave rise to tort liability

                                      12   under the Federal Tort Claims Act (“FTCA”) and that Plaintiffs failed to do so. Reply, p.2,

                                      13   ¶17; p.9, ¶4; p.10, ¶28. This new argument is an inaccurate statement of the requirements of

                                      14   the FTCA, but because Defendant raised this new argument for the first time in its Reply,

                                      15   Plaintiffs do not have any opportunity to respond substantively to this argument.

                                      16          Plaintiffs ask this Court to allow them a fair opportunity to respond to the new

                                      17   argument Defendant raised in its Reply. Plaintiffs’ Proposed Surreply is attached to this

                                      18   Motion and does not address any arguments except Defendant’s new argument that Plaintiffs

                                      19   needed to name a specific negligent employee for liability to attach pursuant to the FTCA.

                                      20          A proposed Form of Order accompanies this motion.

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                                       1         DATED: April 7, 2022.

                                       2          s/Kathryn G. Mahady
                                                  ASPEY WATKINS & DIESEL, PLLC
                                       3          Attorneys for Plaintiffs

                                       4

                                       5                                CERTIFICATE OF SERVICE

                                       6         I hereby certify that on the April 7, 2022, I electronically transmitted the attached

                                       7   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

                                       8   Notice of Electronic Filing to the following CM/ECF registrants:
ASPEY, WATKINS & DIESEL, PLLC
123 N. San Francisco St., 3rd Floor




                                       9   Brock Heathcotte, Esq.
      Flagstaff, AZ 86001




                                           United States Attorneys’ Office
         (928) 774-1478




                                      10   Two Renaissance Square
                                           40 N. Central Avenue, Suite 1800
                                      11   Phoenix, AZ 850004-4408
                                           Brock.Heathcotte@usdoj.gov
                                      12   Attorneys for Defendant

                                      13   /s/Hannah Principato

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